     Case 2:20-cv-02359-JAD-DJA Document 34 Filed 11/23/21 Page 1 of 3




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 2
                                  UNITED STATES DISTRICT COURT
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                                            DISTRICT OF NEVADA
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      Estate of Nekiylo Dewayne Graves, by                   Case No. 2:20-cv-02359-JAD-DJA
 6    and through Eureka Graves as next-of-kin,
      personal representative and its Special
 7    Administrator Shannon L. Evans; Eureka                                     Order
      Graves, an individual,
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                              Plaintiffs,
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            v.
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      Nye County, et al.,
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                              Defendants.
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14          Before the Court are Plaintiffs’ motion for leave to file an amended complaint (ECF No.

15   25), Plaintiffs’ motion to substitute a party (ECF No. 27) and the parties’ stipulation for an

16   extension of time (ECF No. 33). Because Defendant does not oppose Plaintiffs’ motions, the

17   Court grants them and grants the stipulation in part. The Court finds these matters properly

18   resolved without a hearing. LR 78-1.

19   I.     Background.

20          In response to Plaintiffs’ motion for leave to file an amended complaint, Defendants

21   explained that they did not oppose Plaintiffs’ motion. (ECF No. 26). Rather, they used the

22   motion to address inaccuracies, the fact that Plaintiffs substituted Shannon Evans as Special

23   Administrator without seeking leave of court, and the need for an extension. (Id.). Plaintiffs

24   reply that they have since filed a motion to substitute Shannon Evans to correct the oversight and

25   that an extension request is better sought in a stipulation. (ECF No. 28).

26          In their motion to substitute Shannon Evans as Special Administrator of Nekiylo Graves’

27   estate Plaintiffs assert that they seek to substitute Ms. Evans not as a party, but only as the estate’s

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     Case 2:20-cv-02359-JAD-DJA Document 34 Filed 11/23/21 Page 2 of 3




 1   administrator. (ECF No. 27). They explain that this change will not impact the litigation. (See

 2   id.). Defendants did not respond.

 3          The parties then stipulated to an extension of time, requesting a ninety-day extension.

 4   (ECF No. 33). Alternatively, the parties sought a stay pending this Court’s decision on Plaintiffs’

 5   motion to amend. (See id.). They assert that a stay—or extension—will allow discovery to

 6   include anticipated parties that Plaintiffs have requested to add. (See id.).

 7   II.    Discussion.

 8          In cases where a party is not amending their pleading as a matter of course, they may

 9   amend “only with the opposing party’s written consent or the court’s leave. The court should

10   freely give leave [to amend] when justice so requires.” Fed. R. Civ. P. 15(a)(1)-(2). The failure

11   of an opposing party to file points and authorities in response to any motion…constitutes a

12   consent to the granting of the motion. LR 7-2(d). A request to extend made within twenty-one

13   days of the subject deadline must be supported by good cause. LR 26-3.

14          Here, the Court grants Plaintiffs’ motion for leave to amend, Plaintiffs’ motion to

15   substitute, and the parties’ stipulation to extend in part. The Court also encourages the parties to

16   stipulate to unopposed motions in the future. Regarding the motion for leave to amend,

17   Defendants have expressly not opposed, but used their response to preserve arguments and point

18   out deficiencies. Regarding the motion to substitute, Defendants did not respond, constituting

19   their consent. Regarding the stipulation to extend, the Court finds that the parties have

20   demonstrated good cause to extend discovery deadlines.

21          Notably, however, both the motion for leave to amend and the motion to substitute could

22   easily have been stipulations. For example, the parties could have addressed Defendants’ issues

23   regarding the motion for leave to amend in a meet and confer and resolved them beforehand. The

24   same is true of the motion to substitute. Indeed, it appears that the only reason the parties

25   stipulated to extend deadlines is because the Court ordered them to communicate. The parties are

26   thus directed to attempt to stipulate before bringing motions, if not to resolve all issues, at least to

27   narrow them. Stipulating also allows the Court to reach unopposed motions earlier, instead of

28   waiting for responsive briefing for a motion to become ripe.


                                                   Page 2 of 3
     Case 2:20-cv-02359-JAD-DJA Document 34 Filed 11/23/21 Page 3 of 3




 1           IT IS THEREFORE ORDERED that Plaintiffs’ motion to amend (ECF No. 25) is

 2   granted. Plaintiffs are directed to file and serve the amended pleading in compliance with LR

 3   15-1.

 4           IT IS FURTHER ORDERED that Plaintiffs’ motion to substitute (ECF No. 28) is

 5   granted.

 6           IT IS FURTHER ORDERED that the parties’ stipulation to extend (ECF No. 33) is

 7   granted in part. The following deadlines shall govern discovery:

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 9           Amend pleadings and add parties:                      Monday, February 7, 2022

10           Initial expert disclosures:                           Monday, March 7, 2022

11           Rebuttal expert disclosures:                          Tuesday, April 5, 2022

12           Discovery cut-off:                                    Thursday, May 5, 2022

13           Dispositive motions:                                  Monday, June 6, 2022

14           Pretrial order: 1                                     Tuesday, July 5, 2022

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16           DATED: November 22, 2021

17
                                                            DANIEL J. ALBREGTS
18                                                          UNITED STATES MAGISTRATE JUDGE
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      If dispositive motions are filed, the deadline for filing the joint pretrial order will be suspended
28   until 30 days after decision on the dispositive motions or further court order. LR 26-1(b)(5).


                                                  Page 3 of 3
